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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
HESAI TECHNOLOGY CO., LTD, et al., )
                                     )
                  Plaintiffs,        )
                                     )
            v.                       )  Civil Action No. 1:24-cv-01381
                                     )
U.S. DEP’T OF DEFENSE, et al.,       )
                                     )
                  Defendants.        )
____________________________________)


            MOTION TO POSTPONE THE SEPTEMBER 24, 2024 HEARING

       Defendants U.S. Department of Defense, et al. (“Defendants”), respectfully ask the Court

for a brief postponement of the September 24, 2024 hearing.

       1.      On January 18, 2024, the Deputy Secretary of Defense notified Congress that the

Department of Defense (“DoD”) identified, among others, Hesai Technology Co., Ltd., (“Hesai”)

as a “Chinese military company,” pursuant to Section 1260H of the National Defense

Authorization Act for Fiscal Year 2021. Hesai and its wholly owned subsidiary Hesai Group, Inc.

(collectively, “Plaintiffs”) subsequently filed the instant lawsuit. See Compl., ECF No. 1. The

parties have filed their respective dispositive motions, and the Court has scheduled a hearing for

September 24, 2024. See Scheduling Order, ECF No. 13

       2.      Consistent with Congress’ directive, DoD continues to engage in its ongoing review

of the identification of all companies, including Hesai. See Section 1260H(b)(3) (providing that

DoD “shall make additions or deletions to the most recent list . . . on an ongoing basis based on

the latest information available”).
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       3.     In light of additional information obtained during its review, DoD expects that it

will make a new decision regarding Hesai’s placement on the Section 1260H List, and is working

to have such a decision made by October 8, 2024. A new decision will render the original

determination inoperative.

       4.     Defendants respectfully ask the Court to postpone the hearing by twenty-one (21)

days, at the Court’s convenience. A postponement of these proceedings will conserve the

resources of the Court and the parties by obviating the Court’s need to assess the merits of

dispositive briefs that will be superseded when DoD issues a new decision.

       5.     Pursuant to Local Rule 7(m), counsel for Defendants conferred with counsel for

Plaintiffs to ascertain Plaintiffs’ position on this motion.   Plaintiffs’ counsel informed the

undersigned that Plaintiffs oppose this motion and will respond accordingly.

       A proposed order is attached.


Dated: September 13, 2024                   Respectfully submitted,

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                                            Principal Deputy Assistant Attorney General

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